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                           Exhibit B
                 SOVERAIN’S PROPOSED CLAIM
                 CONSTRUCTIONS AND SUPPORT




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                              List of Sources for Extrinsic Evidence

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        1995, available at http://www.ietf.org/rfc/rfc1808.txt (“RFC 1808”) (SVN2-0072435 –
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       Massachusetts, U.S.A., 1990 (“Webster’s (1990)”) (SVN2-0072349 - SVN2-0072359).

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        2005) (“Amazon Markman Order”) (SVN2-0072273 – SVN2-0072308).




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                                                 Soverain’s Proposed Claim Constructions and Support

                                                            U.S. Patent Nos. 5,715,314 and 5,909,492

          Claim Term, Phrase, or               Constr.
                                                              Soverain’s Proposed
         Clause and Patent(s) and             Requested                                           Intrinsic Support                       Extrinsic Evidence
                                                                 Construction
        Claim(s) in which it appears             By
  1. Shopping cart computer                  defendants a computer                        ’314/’492 Disclosure1                   Amazon Markman Order
                                                        processing data                   FIG. 3A – 3B
      ’314 patent:                                      associated with one               Col. 1, ll. 18 – 47
      claims 34, 35, 39, 49, 74, 84,                    or more shopping                  Col. 2, ll. 19 – 42
      109, 134, 144                                     carts                             Col. 4, ll. 35 – 45
                                                                                          Col. 5, ll. 5 – 15
      ’492 patent:                                                                        Col. 7, l. 55 – Col. 8, l. 31
      claims 17, 18, 35, 36                                                               Col. 10, ll. 27 – 31
                                                                                          Appendices F, G

                                                                                          ’314 Claims
                                                                                          1 – 33, 34, 35, 39, 49, 74, 84 –
                                                                                          109, 134, 144 – 168

                                                                                          ’492 Claims
                                                                                          17, 18, 35, 36

                                                                                          ’314 File History
                                                                                          Amendment, 12/19/96




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          U.S. Pat. No. 5,715,314 (“’314 patent”) and U.S. Pat. No. 5,909,492 (“’492 patent”) share the same specification The column-and-line citations refer to
the ’314 patent, even if the construed term appears only in the ’492 patent.


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                                                   U.S. Patent Nos. 5,715,314 and 5,909,492

          Claim Term, Phrase, or        Constr.
                                                    Soverain’s Proposed
         Clause and Patent(s) and      Requested                                  Intrinsic Support             Extrinsic Evidence
                                                       Construction
        Claim(s) in which it appears      By
  2. Shopping cart message             defendants a message concerning Corresponding record in Soverain Software LLC v. Amazon.com,
                                                  a shopping cart      Inc., 6:04-cv-14, in particular: Soverain’s P.R. 4-3 submission,
      ’314 patent:                                                     Soverain’s claim construction briefs, the Markman hearing
      claims 34, 39, 84, 144                                           transcript, and the Amazon Markman Order.

      ’492 patent:
      claims 17, 18, 35, 36




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                                                    U.S. Patent Nos. 5,715,314 and 5,909,492

          Claim Term, Phrase, or         Constr.
                                                     Soverain’s Proposed
         Clause and Patent(s) and       Requested                                   Intrinsic Support               Extrinsic Evidence
                                                        Construction
        Claim(s) in which it appears       By
  3. Payment message                    defendants a message relating to    ’314/’492 Disclosure               Amazon Markman Order
                                                   a payment for one or     FIGS. 2A – 2I, 3A – 3B
      ’314 patent:                                 more products            Col. 2, ll. 32 – 42
      claims 34, 35, 39, 49, 74, 109,                                       Col. 3, ll. 38 – 47
      134                                                                   Col. 9, l. 51 – Col. 10, l. 20
                                                                            Col. 10, ll. 27 – 31

      ’492 patent:                                                          ’314 Claims
      claim 17, 18, 35, 36                                                  1, 7, 8, 12, 33, 34, 39, 87, 147

                                                                            ’492 Claims
                                                                            11, 13, 17, 18, 35, 36




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                                                           U.S. Patent Nos. 5,715,314 and 5,909,492

          Claim Term, Phrase, or              Constr.
                                                             Soverain’s Proposed
         Clause and Patent(s) and            Requested                                            Intrinsic Support                       Extrinsic Evidence
                                                                Construction
        Claim(s) in which it appears            By
  4. To cause said payment                   defendants to cause an action               ’314/’492 Disclosure                    IBM at p. 9
     message to be activated to                         associated with said             FIG. 3B
     initiate a payment transaction                     payment message to               Col. 1, ll. 17 – 23
                                                        initiate a payment               Col. 8, ll. 25 – 28
      ’314 patent:                                      transaction                      Col. 10, ll. 27 – 31
      claims 34, 39
                                                             See term 3                  ’314 Claims
      ’492 patent:                                                                       1, 20, 21, 34, 39, 49, 74
      claim 17, 18, 35, 36
                                                                                         ’492 Claims
                                                                                         17, 18, 35, 36

                                                                                         ’424 Disclosure2
                                                                                         FIGS. 2, 3, 5, 8
                                                                                         Col. 5, ll. 7 – 28
                                                                                         Col. 5, ll. 45 – 59
                                                                                         Col. 7, ll. 15 – 38




        2
           The ’314 patent incorporates U.S. App No. 09/168,519, later abandoned, by reference. A continuation of that application, U.S. App. No. 08/563,745, issued as
U.S. Pat. No. 5,724,424 (“’424 patent”). For convenience, reference is made to columns and lines of the ’424 patent instead of U.S. App. No. 09/168,519.


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                                                   U.S. Patent Nos. 5,715,314 and 5,909,492

          Claim Term, Phrase, or        Constr.
                                                    Soverain’s Proposed
         Clause and Patent(s) and      Requested                                   Intrinsic Support                Extrinsic Evidence
                                                       Construction
        Claim(s) in which it appears      By
  5. A Shopping Cart URL               defendants a URL concerning a       ’314/’492 Disclosure             Microsoft at p. 405
                                                  shopping cart            Col. 5, l. 26 – Col. 6, l. 42
      ’314 patent:                                                         Col. 7, ll. 14 – 30              ’639 Disclosure
      claims 60, 65, 120, 125                                              Col. 8, l. 14 – Col. 9, l. 2     Col. 3, l. 54 – Col. 4, l. 21
                                                                           Col. 9, l. 51 – Col. 10, l. 20
                                                                           Col. 10, ll. 27 – 31             RFC 1808
                                                                           Appendices A – D

                                                                           ’314 Claims
                                                                           34, 39, 60 – 73, 120 – 133

                                                                           ’492 Claims
                                                                           17, 18, 35, 36

  6. Hypertext link                    defendants a non-sequential web     ’314/’492 Patent                 Amazon Markman Order
                                                  association which the    Col. 1, ll. 17 – 23
      ’492 patent:                                user can use to          Col. 9, l. 51 – Col. 10, l. 20   Microsoft at p. 240
      claim 15, 16                                navigate through         Col. 10, ll. 27 – 31
                                                  related topics           Appendices A – D                 ’639 Disclosure
                                                                                                            FIGS. 2A-2B, 4, 5;
                                                                           ’424 Disclosure                  Col. 1, l. 66 – Col. 4, l. 22;
                                                                           Col. 4, l. 61 – Col. 5, l. 6     Col. 5, l. 18 – Col. 5, l. 41;
                                                                                                            Col. 6, ll. 17 – 26;
                                                                                                            Col. 8, ll. 27 – 50

                                                                                                            ’639 Claims
                                                                                                            1, 62, 78



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                                                   U.S. Patent Nos. 5,715,314 and 5,909,492

          Claim Term, Phrase, or        Constr.
                                                    Soverain’s Proposed
         Clause and Patent(s) and      Requested                                   Intrinsic Support               Extrinsic Evidence
                                                       Construction
        Claim(s) in which it appears      By
  7. A statement URL                   defendants a URL concerning a       ’314/’492 Disclosure             Microsoft at p. 405
                                                  statement                FIG. 4A
      ’492 patent:                                                         Col. 5, l. 26 – Col. 6, l. 42    ’639 Disclosure
      claim 41, 76                                                         Col. 7, ll. 14 – 30              Col. 3, l. 54 – Col. 4, l. 21
                                                                           Col. 8, l. 14 – Col. 9, l. 2
                                                                           Col. 9, l. 51 – Col. 10, l. 20   RFC 1808
                                                                           Col. 10, ll. 27 – 31
                                                                           Appendices A – D

                                                                           ’492 Claims
                                                                           15, 16, 41, 42, 76, 77




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                                                        U.S. Patent No. 6,272,639

          Claim Term, Phrase, or      Constr.
                                                  Soverain’s Proposed
          Clause and Patent(s) and   Requested                                  Intrinsic Support                Extrinsic Evidence
                                                     Construction
          Claim(s) in which it app      By
  8. Service request                 defendants a solicitation of        Corresponding record in Soverain Software LLC v. Amazon.com,
                                                services from a client   Inc., 6:04-cv-14, in particular: Soverain’s P.R. 4-3 submission,
      ’639 patent:                              to a server. A service   Soverain’s claim construction briefs, the Markman hearing
      claims 1, 10, 60, 65, 78, 79              request may entail the   transcript, and the Amazon Markman Order.
                                                exchange of any
                                                number of messages
                                                between the client
                                                and the server.

  9. Session identifier              defendants a text string that       Corresponding record in Soverain Software LLC v. Amazon.com,
                                                identifies a session     Inc., 6:04-cv-14, in particular: Soverain’s P.R. 4-3 submission,
      ’639 patent:                                                       Soverain’s claim construction briefs, the Markman hearing
      claims 1, 10, 47, 63, 78, 79               See term 10             transcript, and the Amazon Markman Order.




  10. Session                        defendants a series of requests     Corresponding record in Soverain Software LLC v. Amazon.com,
                                                and responses to         Inc., 6:04-cv-14, in particular: Soverain’s P.R. 4-3 submission,
      ’639 patent:                              perform a complete       Soverain’s claim construction briefs, the Markman hearing
      claims 1, 10, 47, 63, 78, 79              task or set of tasks     transcript, and the Amazon Markman Order.
                                                between a client and
                                                a server system




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                                                        U.S. Patent No. 6,272,639

          Claim Term, Phrase, or       Constr.
                                                   Soverain’s Proposed
          Clause and Patent(s) and    Requested                                     Intrinsic Support              Extrinsic Evidence
                                                      Construction
          Claim(s) in which it app       By
  11. the stored session identifier   defendants Plain meaning              ’639 Disclosure                 See Amazon Markman Order
                                                 applies; this term         FIGS. 2A, 2B, 3, 6
      ’639 patent:                               does not require           Col. 1, l. 48 – Col. 2, l. 39   IEEE 6th Ed. at p. 1049
      claim 1                                    construction               Col. 3, l. 54 – Col. 4, l. 30
                                                                            Col. 5, ll. 42 – 65             Microsoft at pp. 26, 450
                                                  See terms 9, 10           Col. 7, l. 22 – Col. 9, l. 65
                                                                            Col. 10, ll. 19 – 23            American Heritage at pp. 40, 800
                                                                                                            – 01
                                                                            ’780 Claims
                                                                                                            Webster’s (1990) at p. 96
                                                                            58, 111
                                                                                                            HTTP/1.0
                                                                            ’639 File History
                                                                            Amendment, 12/28/01, at
                                                                            4 – 5, 7
                                                                            Amendment, 10/19/06 and
                                                                            attached 1.131 declaration




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                                                       U.S. Patent No. 6,272,639

          Claim Term, Phrase, or      Constr.
                                                  Soverain’s Proposed
          Clause and Patent(s) and   Requested                                    Intrinsic Support              Extrinsic Evidence
                                                     Construction
          Claim(s) in which it app      By
  12. subsequent distinct requests   defendants Plain meaning             ’639 Disclosure                 See Amazon Markman Order
                                                applies; this term        FIGS. 2A, 2B, 3, 6
      ’639 patent:                              does not require          Col. 1, l. 48 – Col. 2, l. 39   IEEE 6th Ed. at p. 1049
      claims 1, 79                              construction              Col. 3, l. 54 – Col. 4, l. 30
                                                                          Col. 5, ll. 42 – 65             Microsoft at pp. 26, 450
                                                 See term 8               Col. 7, l. 22 – Col. 9, l. 65
                                                                          Col. 10, ll. 19 – 23            American Heritage at pp. 40, 800
                                                                                                          – 01
                                                                          ’780 Claims
                                                                                                          Webster’s (1990) at p. 96
                                                                          58, 111
                                                                                                          HTTP/1.0
                                                                          ’639 File History
                                                                          Amendment, 12/28/01, at
                                                                          4 – 5, 7
                                                                          Amendment, 10/19/06 and
                                                                          attached 1.131 declaration




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                                                         U.S. Patent No. 6,272,639

          Claim Term, Phrase, or        Constr.
                                                    Soverain’s Proposed
          Clause and Patent(s) and     Requested                                    Intrinsic Support             Extrinsic Evidence
                                                       Construction
          Claim(s) in which it app        By
  13. Validating, at the server        defendants at the server system,     ’639 Disclosure                Microsoft at p. 490
      system, the appended session                determining the           Col. 3, ll. 42 – 47
      identifier /                                validity of the           Col. 6, ll. 5 – 16             Webster’s (1990) at p. 1302
                                                  appended session          Col. 10, ll. 19 – 23
      validating the session                      identifier /
      identifier appended to the                                           ’780 Disclosure
      service request                              determining the         Col. 43 – 46
                                                   validity of the session
      ’639 patent:                                 identifier appended to ’639 File History
      claims 47, 78                                the service request     Amendment, 12/28/01, at
                                                                           4–5
                                                   See term 9              Amendment, 10/19/06, and
                                                                           attached 1.131 declaration

  14. A purchase request / a request   defendants One or more               ’639 Disclosure
      for purchase                                messages requesting       Col. 2, l. 54 – Col. 3, l. 2
                                                  a purchase                Col. 10, ll. 19 – 23
      ’639 patent:
      claim 60                                                              ’639 Claims
                                                                            60, 61




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                                                        U.S. Patent No. 6,272,639

          Claim Term, Phrase, or      Constr.
                                                  Soverain’s Proposed
          Clause and Patent(s) and   Requested                                      Intrinsic Support              Extrinsic Evidence
                                                     Construction
          Claim(s) in which it app      By
  15. Creating, responsive to the    defendants producing, in               ’639 Disclosure                 See Amazon Markman Order,
      initial service request, the              response to the initial     FIG. 2B                         see, e.g., discussion of the term
      session identifier                        service request, the        Col. 5, ll. 42 – 65             “creating a database”
                                                session identifier          Col. 6, l. 27 – Col. 7, l. 13
      ’639 patent:                                                          Col. 10, ll. 19 – 23            American Heritage at p. 203
      claim 79                                   See terms 9, 17
                                                                            ’639 Claims                     Webster’s (1990) at p. 304
                                                                            10, 69, 79




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                                                       U.S. Patent No. 6,272,639

          Claim Term, Phrase, or      Constr.
                                                 Soverain’s Proposed
          Clause and Patent(s) and   Requested                                   Intrinsic Support               Extrinsic Evidence
                                                    Construction
          Claim(s) in which it app      By
  16. Hyperlink                      defendants a non-sequential web     ’639 Disclosure                  See Amazon Markman Order
                                                association which the    FIGS. 2A – 2B, 4, 5
      ’639 patent:                              user can use to          Col. 1, l. 66 – Col. 4, l. 22    Microsoft at p. 240
      claim 62                                  navigate through         Col. 2, ll. 9 – 14
                                                related topics           Col. 5, l. 18 – Col. 5, l. 41
                                                                         Col. 6, ll. 17 – 26
                                                                         Col. 8, ll. 27 – 50
                                                                         Col. 10, ll. 19 – 23

                                                                         ’639 Claims
                                                                         1, 62, 78

                                                                         ’314/’492 Disclosure
                                                                         Col. 1, ll. 17 – 23
                                                                         Col. 9, l. 51 – Col. 10, l. 20
                                                                         Appendices A – D

                                                                         ’424 Disclosure
                                                                         Col. 14, l. 61 – Col. 5, l. 6




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                                                       U.S. Patent No. 6,272,639

          Claim Term, Phrase, or      Constr.
                                                 Soverain’s Proposed
          Clause and Patent(s) and   Requested                                      Intrinsic Support               Extrinsic Evidence
                                                    Construction
          Claim(s) in which it app      By
  17. Initial service request        Soverain    the first service          ’639 Disclosure                  American Heritage at p. 431
                                                 request in a session       FIGS. 2A – 2B, 4
      ’639 patent:                                                          Col. 5, l. 18 – Col. 6, l. 34    Webster’s (1990) at p. 622
      claims 10, 79                              See terms 8, 10            Col. 10, ll. 19 – 23

                                                                            ’639 Claims
                                                                            1, 10, 78, 79

                                                                            ’639 File History
                                                                            Amendment, 12/28/01, at 4

  18. Controlled document            Soverain    a document that can        ’639 Disclosure                  IEEE 6th Ed. at p. 5
                                                 be accessed when one       Abstract
      ’639 patent:                               or more conditions         FIGS. 2A – 2B, 4                 IBM at p. 3
      claim 47                                   are met                    Col. 2, l. 40 – Col. 3, l. 2
                                                                            Col. 3, l. 20 – Col. 4, l. 21
                                                                            Col. 5, ll. 18 – Col. 6, l. 17
                                                                            Col. 6, l. 57 – Col. 7, l. 21
                                                                            Col. 7, ll. 35 – 67
                                                                            Col. 8, ll. 59 – Col. 9, l. 6
                                                                            Col. 9, l. 66 – Col. 10, l. 11
                                                                            Col. 10, ll. 19 – 23

                                                                            ’639 Claims
                                                                            47




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